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               IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

LaMARR PIRKLE; THEODORE                           :
DANNERTH; LAUREN DANKS; and                       :
CASEY FLYNN,                                      :
                                                  :
                           Plaintiffs,            :
                                                  :
       v.                                         :   NO. 4:20-CV-2088
                                                  :
GOVERNOR THOMAS W. WOLF,                          :   JUDGE BRANN
in his official capacity; and KATHRYN             :
BOOCKVAR, in her capacity as                      :   ELECTRONICALLY FILED
Secretary of the Commonwealth of                  :
Pennsylvania,                                     :
                                                  :
                           Defendants.            :

                   DEFENDANT KATHY BOOCKVAR’S
                 NOTICE OF SUPPLEMENTAL AUTHORITY

       Defendants Governor Tom Wolf and Secretary of the Commonwealth Kathy

Boockvar provide notice of the precedential decision of the U.S. Court of Appeals

for the Third Circuit in Bognet v. Secretary of the Commonwealth of Pennsylvania,

No. 20-3214 (3d Cir. Nov. 13, 2020), a copy of which is attached as Exhibit “A.”

The Bognet decision is controlling with respect to Defendants’ assertion that

Plaintiffs lack standing to bring this action.1



   1
     On November 11, 2020, Defendants filed their Memorandum of Law in
Opposition to Plaintiffs’ Motion To Consolidate and To Expedite the Case and
Discovery. (ECF No. 8.) In light of the procedural posture of the matter and
Plaintiffs’ letter submission (ECF No. 6), Defendants submitted their response on
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      The Third Circuit in Bognet held that voters lack standing to bring vote

dilution claims under the Equal Protection Clause. Chief Judge D. Brooks Smith,

writing for the panel, reaffirmed that “[f]ederal courts are not venues for plaintiffs

to assert a bare right to have the Government act in accordance with law.” Slip

Op. at 20 (citations and internal quotation marks omitted).

      Specifically, the Court held that individual voters lack standing to pursue

claims against Secretary Boockvar and county election boards under the Equal

Protection Clause alleging vote dilution because such harm is neither concrete nor

particularized. Id. at 29. The Court held that the plaintiffs’ “conceptualization of

vote dilution—state actors counting ballots in violation of state election law—is

not a concrete harm under the Equal Protection Clause of the Fourteenth

Amendment.” Id. at 33. Furthermore, the alleged counting of improper votes is a

mere generalized grievance which is insufficient to confer standing. Id. at 36. The

Court explained that “a vote . . . counted illegally has a mathematical impact on the


an expedited basis, without waiver of other challenges and urging the Court to
dismiss Plaintiffs’ Complaint forthwith due to lack of standing. Absent standing,
this Court lacks subject matter jurisdiction and should proceed no further. See In
re Schering Plough Corp. Intron/Temodar Consumer Class Action, 678 F.3d 235,
246 (3d Cir. 2012). Today, Plaintiffs filed an “Amended Motion To Consolidate
and Expedite Discovery” which, contrary to its title, actually seeks to withdraw the
Motion To Consolidate and offers an “amend[ed] proposed case management
schedule.” (ECF No. 17.) For the reasons in Defendants’ memorandum in
opposition, and given the precedential decision in Bognet, Plaintiffs’ Amended
Motion to Consolidate should be denied and this action should be dismissed with
prejudice.
                                           2
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final tally and thus on the proportional effect of every vote, but no single voter is

specifically disadvantaged.” Id. at 37 (citation and internal quotation marks

omitted). Such votes do not constitute “an injury in fact for purposes of an Equal

Protection Clause claim.” Id. at 43. The Court added: “Allowing standing for

such an injury strikes us as indistinguishable from the proposition that a plaintiff

has Article III standing to assert a general interest in seeing the proper application

of the Constitution and laws—a proposition that the Supreme Court has firmly

rejected.” Id. at 44 (citation and internal quotation marks omitted).

       Bognet eliminates any lingering doubt regarding the viability of Plaintiffs’

claims2 and requires that their Complaint be dismissed with prejudice forthwith

due to lack of standing and the absence of federal jurisdiction.




   2
      Here, as in Bognet, Plaintiffs’ Complaint is premised on the theory that their
votes will be diluted due to alleged illegally cast votes. (See, e.g., Compl. (ECF
No. 1) at ¶ 29.) Plaintiffs’ effort to distinguish Bognet (ECF No. 18) has no merit.
Rather, Bognet squarely applies to Plaintiffs’ vote dilution theory which is
premised on a “generalized grievance” challenging application of the law. Bognet
is dispositive and requires dismissal.
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Dated: November 13, 2020             Respectfully submitted:

MYERS BRIER & KELLY LLP              PENNSYLVANIA OFFICE OF
                                     ATTORNEY GENERAL

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               Secretary of the Commonwealth Kathy Boockvar




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                         CERTIFICATE OF SERVICE

      I hereby certify that on November 13, 2020, a copy of the foregoing was filed

electronically. Notice of this filing will be sent to all parties who have appeared in

this action via the Court’s electronic filing system. Parties may access this filing

through the Court’s system.



                                              /s/ Daniel T. Brier
                                              Daniel T. Brier
